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tdér to update:his: curre:
er Kine reporis © continued diffi
his ty

Bert adenine: his: mood
Hé-coritinues:to : ‘experience

Based pon. this consultation, Fawill be: requesting ‘ollow-u ‘counseling ation mune By
8 weeks given Brice’s work situati
therefore no 'recommendations:are |

Martin PhD
i Neuropsychelogist .

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"CCT. 4.2008 9:47AM | STEPHFNK MARTIN PHO — WO942 PD.
“ae Ph NEN \AL Stephen K. Martin, Ph.D,
cE ‘J Glinisal Neuropsychologist
pis 3800 Paluxy Br. #480 Tyler, TX 75708

HOGBHTGHSS 903-534-8104 (fax)
Neuropsychology Update Report

ratient Name: Brice MoBay ' Soclal Security #: 458 98 4195
Date of Report: 11/1/08

Requesting Source: John Foxworth, Jr. Attorney At Law

Consulting Neuropsychologist: Stephen K, Martin, Pat,

This report was prepared at the requesi of John Foxworth, an attorney representing Mr. MeBay. In hile letter
dated September $0, 2008, he requested that | provide relevant information in order to address the following

ISSUee:
4,  - Diagnosis of injuries: As stated in the naurapsychological evaluation dated 12/3/07, the
following diagnoses were made:
850.0 Concussion
pt . 840.1  Qrganie-personality syndrome
Piva "02 .+- "840.2 ” Post eonoussion syndrome (PCS)
ite 909,81- Post traumatia stress disorder (PTSD), chronic
“996.22 Major depression, single episoda, moderate
2, Causal relation of Injurles te the jall beatings: As stated in the neuropaychologioal evaluation.
on 12/3/07:

Fron @ dlagnostic standpoint, these. results reflect indications of frontal Jobe dysfunction consistent with
residual effects frome conoussion sustained in the reported assault, Primary brain regions affected by this
concusgion involve frontal and more specifically orbital-frontal regions of the brain, -Prirnary cognitive areas
which continue to be affected include elements of attentlon, processing speed, decision-making, a8 well as
visual memory and recall, Of equal if not greater concern with these cognitive daficits invelves the -
aforementioned mood and personality changes. These behavioral symptoms frequently aecompany injuries
involving orbital-frortal ragions of the brain, The combination of cognitive, emotional / behavioral, and
physleal symptoms (€.g,, headaches, lethargy) being reported are referred fo as a post concussion
syndrome (PCS), These concussion factors tand to dynarnically interact with one another in such as wey
that improvements in one area (@.g., mood) may result in associated Improvements in another area (@.9.,
cognition), The time frame that has elapged since the-injury (approximately 2 years) suggests that elements
of tils profile are likely permanent in nature,

3, The affect on ability to work and function: At this time, Mr, MoBay continues to work in a
reduced capacily with his father who Is an insurance adjuster. In essence, Mr. McBay Is working as an
assistarit to hig father whereas prior to this incident he was working independently as an insurance adjuster,
Klis ability to work In an Independent fashion continues to be affected in a negative manner by the cognitive
and emotional / behavioral effects from thig injury,

4, Prognosis: Mr. McBay's prognosis remains guarded due to the continved long-term residual
effects stemming from the post concussion syndrome and PTSD. We have recently Initiated follow-up
counseling, and Mr. MoBay appears lute motivated and is responding In a positive fashion to the treatment,
His ‘prognosis may improve with continued neuropsychological counseling, as well as with participation and
follow through in the other recommendations specified in the neuropsychologioal evaluation dated (2/3/07.

Wikio Ae

Stephen K. Martin, Ph. D,
Clinical Nauropsyshologist

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- Bie hen K, Martin, Phil De ae cee fo asiouropsychra bey « Séhevioraltic icin
BTR Phoie: 903-258-0938"
, ce _ oo Fax, 003-534-8104

Biloxi, 3 ‘MS 9530 Oe
ATTN: Mike: Brufley

“RE: Brice, MicBey
Dear: Mr. Bhuffey: ,
Attached please fi ‘find my nal sduropsychalgical sped on Brige- MeBay date a/si0d.

Causation; Based | upon: data: ‘from fhat evaluation: as well as: clin
course: of-our treatment, itis my. opinion that the.alleged assault o nsibl the
concussion, postecincussion symptoms, 2 “and post traumatic: ‘stress: disorder (ere 2 ‘Sic e
continues ‘fo. experience. wo :

o

Future T reatment: Conese swith rinorion ghey in rte ina | neat Svaluation, |

t will Be sesitid Me, Meaya agai: on dune, 2009, anid will arovide. a ‘supplemental report Following ,
A aS reserve the rightto modify these: recommendatjons: 2

‘Stephen ‘K Martin PRD « «
-Glinical Neuropsychologist a

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rennet” Sh pene

Neuropsychological Evaluation

Sotial Security #: 4598 95.4195
18:

Reason .For Referral: Brice MeBay was referred4 inordér io-clatify. his current: ‘cognitive: and }
amotional'status.. ‘

 Relevan fiistory:: Information

ed sehen recall of
Di ae awell- as

approximat ely 7730 | Y6/85 “Unt
" and noted ‘that the patientite swallint

a‘broken nose. He‘also: rep i an
reportedly” hada “blanie and dazed look on his fac
emergency room where. he was. e\ ated and released re
below. To date, Mr. ‘Brice reported t that he has beer: treated: chy a Ni utdlegist,, EB sah ician,
Eye Doctor, as well as:his family physician, so

leit eye, aswell as
iarks eee Mr. MeBay

"cand was ‘an ‘aver achiever fram a work standpoint:

in general, the Patient feels. inadequate: when compared to’ ‘his peor cognith

Sytrip bing! 4asiude chronic: jow: grade: fever, lethargy, deste ase energy, a
humbriess,, left Worse: than right.

With moar his behavioral Status, the real aa thein ‘that hei is more initeble. and easily: |
ed sd thé fol

Case 1:07-cv-01205-LG-RHW Document 315-12 Filed 12/14/09 Page 6ofi11.

Page 2.-'Brice McBay’

miuoh less trusting of otter: seople, la: addition, they reported that the patient is more reactive wittt
angér-and now tends to give up easily.

ay fEp lad Very gout
ly helped fo: cover" for hinvatwork ineluding his. father | ifk,
e the incident; although he has worked :some: with: his father wh
rk. Twas reported thatthe: ‘patient'seems to. have jess confidence in hinas
$s, as well SS ofa. tendency to. “market* himself from @ work: standpoint. He was siving |
is Horne. in Ganon, TX at'the time ofthe: incident, but has been: spending more:time with his:
, parent | in Edgewood, TX since then.

Review of Recards: Medical records: reviewed. included ER notes .which.described facial
bruising, black eye,.and nasal ftacture. Drug: toxiedlogy. screen dated: 11/8/05 was negative. A
GT of the brain performed on 47/05, showed a large left temporoparietal scalp’hematonaialong:
with mucosal thickening ofthé ethimoid sir.cells-bilatéfally. GT of his. orbits'on 1477/05:re oted:a:
nasal bone fracture; mucosal thickening ‘of athmoid and frontal sinuses, right greater than Jett:

due to-apparent ‘trauma and bleéding, as well'as chroriic: nasal septum. deviation,

ality. Inveritory (NMP.

Behavioral Observations: The: satient sitended thé tésting session on time and casually

dressed. Overall, he ‘was coopera atid friendly with the. testing situation and ‘appeared to

and all dire loris:. Mr. McBa ONIN. to give. oe effort on each test: radrrinisteret
5 ite 6 nal

Tated.a verbal |@ of 99. faverage),
jsraae), fot a full Scale 1Q 6f.9 { J&). The age. corrected subtest

scores are presented. below:

‘Verbal Performaticé
’ Vocabulary § ‘Picture Completion. = &

Similarity 40. . Digit-Symibol 9

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i

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Page 3.—'Brice MeBay

Arithmetic 44 Block: Design z
Digit Span 44 Matrix Reasoning .g
Information 44 Piéture Arrangement 9
Gomprehension

betformarice on:a measure-assessing
n. Measures: assessing now edge of

q
t
H

demonstrated! severly impaired
sequencing and processing :an . di On

noted. on-another visual attention task thatalso: required visuals seque rei gar id: 4 Lily to shift:
_ Sets, as:well asisustained vigilance. . , ,
On the M@A-Continuous'Performance Test, aicomputer based Mgasuré assessirig Sustaliéd
Auditory-and visual attention / concentration, the patient demonstrated average. périartiiance. in
the auditory modality and. mildly itapaired’ ‘skills i ta-the visual modality, ;

Abstraction/Problem-Solving: On a coraputer based measure assessing problem solving and
execulive skills that:patient: demonstrated severely impaired petformance. ‘Of thi
‘Gogh. ve measures he demonstrated sia Pertermae 3 Chase aati He tas te quite

femonctated: mild to: moderately | im ‘red ‘skills. ‘On this test few WV
underlying principle to use ina. problem solving situation. Finally, on-a.
problem‘solving task: (placing: blocks in a form'boatd while blin d cided), He dertonsirated Failldly-
Ampaired:skills:

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Page 4.-‘Brice MéBay

Memory: Interms of his.ability to in¢identally learn information that-he did. not sp lly set-out
torlearn, he: demonstrated mild to. moderately: impaired skills-with, simple informe love
average skills with: complex: information.

Insterms:of his verbal memory, he: demonstrated: average immediate (SS=1 0): 2 ite
delayed recall! (SS8) for.simple,. pazagraph length material. (Ona less structured ist lear

’ task, he.demonstrated-average, memory, storage.as he was able to: learn thirteen.
after fivetrials, Hetended:té benefit from verbal cuing and his recognition mernory. fell'in the

‘average Fange.

Interms-of his visual memory, he: demonstraited avérage:immediate recall {SS=9), ‘but mildly.
impaired: 80 minuite delayed: ecall ‘S$ S=5) forsiiplé visual ‘information. ‘On a more complex’
1 Adristhated:an adegtiate. pérfortnance while reconstructit
inniediate and 30 minute. delayed recalls fall within
tion Of crore. Ic details. ‘of the Oesien was impaired, while:

pec
‘ ‘the: aucitory or visual 0
perception # erers. He did: not d

Savers, levels of: depression and anxiety.
iéeri and self-confidence, ag well: ”
, or ib ore AEA His Tevel of.

‘ing fay become: more venti
ust, | t hel is inclined fo avoid.

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"Page 5 — Brice. McBay.

. Results ‘of the BDI-2 reflecta severe level of: sepress His.seore-on: the BA. reflects a,

thet. his inability
ith ‘Ais- inability.

Simple: probleny,
ito maintaia: set"

nistor integration skills Cogitive abilities associated with: t Ql ely

with the exception. of indications of dysnomia (word finding) as-well assu neoey cysiunction,
His. verbal (VIG = 99° left hemisphere) is-also falli ge range ‘and there are no.
indications of disruption involving, verba Skills , Hl S fi erhaining vetbal ‘skills

séntextual information, as well:as. right:
appear to be relatively: intact for reading: ‘ish sone nt 4 iF
triild decline involving math:skills: (s" iy grade) are noted ‘in. part due’ fo; careless efrors.

From .aft-einotidnal / ‘behavioral standpoint, ‘this evaluation reflects that fhe patient | is experiencing,
ongsing symptonis.of post ttaumatic.stress disorder (PTSD). Thatis, Mr. McBay continuesto
expetience generalized anxiéty and stress aSsociated with the reported ‘assault and is feporting |

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Page 6 — ‘Brice: McBay

disruptions involving disturbing 1 /nemogries, nightmares, as well: as ‘increased anxjety when ever he:
law:enk jh tempted to repress these -memiories: either
ifféct him ‘ona.

5 Waly that j itnprovemen
improvements in anotiier area (a. : HI
" (approximately 2 years) ‘suggests that.élermients: of this ‘profile-dre likely peiaaiierit

Diagnostic Impressions: IeD-9
850.1 ‘Goncussion

310. Organic. personality syndrome
3102 ~ Post concussion ‘syndro
309.84 ‘Post traumaitic sire: Or
296:22 Major depression, single epis ode, 1

st 4. Upon. interview and. feedback, Mr. Meg,

. psychiatrist for appropriate medication managemento! of | his depres

. Syfiptorns. [rithe everit.thatthis option is.not financially feasible
isidé? atrial of Paxil oranother SSRIiwhich should ‘help-addre
Appre pfiaté: usé ofa benzodiazepine may also be indicated parficulal
Futuré. consideration of a psycho-stimulant medication may:help tozaddress aspects of F
inattention and ‘processing issues, particularly: given his prior ‘diagnosis. of; ADHD BS:2, hile.

2. Follow-up outpatient neuropsychological counseling would help.the patient. to better
understand the nature: of his. cognitive deficits as well as begin utilizing, needed compensatory
‘strategies, Furthersemphasis would be placed on‘mood stabilization, leatning coping strategies to.
déal with ‘His: PTSD symptoms, as well as learning depression reduction strategies.

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Page 7 ~ Brice McRay

aug

in-outpatient-cognitive mediation treatmerit would. help to ehsure that.Mr.MeBay

4, Follow-up neuroimaging -
‘document. residual organic bi

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include d-harid hela: ‘pe. seconde to record aoe mee gs.

ane ‘Réliabilitative: Services. (DARS' woul perhepstie
sible, that DARS S may be able to fi pe pro

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Clinical Neuropsye olagist

